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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

CAROLYN CARPENTER,                                 §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §      CIVIL ACTION NO.:
                                                   §      3:18-CV-02338-E
BOSTON SCIENTIFIC CORPORATION,                     §
                                                   §
         Defendant.                                §

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Carolyn Carpenter (“Plaintiff”) and Defendant Boston Scientific Corporation

(“Boston Scientific”) provide this Notice to the Court that all claims against Boston Scientific have

been resolved. Plaintiff and Boston Scientific, therefore, stipulate and jointly request that the Court

enter an Order of Dismissal With Prejudice as to all claims against Boston Scientific.

                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing document has been served to

all counsel of record via ECF notification in accordance with the Federal Rules of Civil Procedure

on August 24, 2021.

                                               /s/ Alan R. Vickery
                                               ALAN R. VICKERY




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